        Case 2:18-cv-04793-CSMW Document 3 Filed 04/16/19 Page 1 of 15



                          UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF PENNSYLVANIA

 CAROLYN FARREN and JOSEPH                               CIVIL ACTION _ LAW
 FARREN, W/H                                             NO. 2:18-CV-04793-JHS

                       V

 BLANE SESSION          M.D.                             JURY TRIAL DEMANDED

                                               ORDER

       AND NOW, this _              day   of                          2019, upon consideration of

the Motion of Defendant, Blane Sessions, M.D., to Dismiss Plaintiffs' Complaint, and any

response thereto,   it is hereby ORDERED           and DECREED that Defendant's Motion         is


GRANTED. Plaintiffs' Complaint is DISMISSED, with prejudice, for failure to timely effectuate

service within ninety (90) days of filing this action.




                                                         BY THE COURT:




                                                                              J
        Case 2:18-cv-04793-CSMW Document 3 Filed 04/16/19 Page 2 of 15




                         LINITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF PENNSYLVANIA

 CAROLYN FARREN and JOSEPH                         CIVIL ACTION _ LAW
 FARREN, W/H                                       NO. 2:18-CV-04793-JHS

                     V

 BLANE SESSIONS M.D                                JURY TRIAL DEMANDED

                                 ALTERNATIVE

       AND NOW, this _           day of                            2019, upon consideration of

the Motion of Defendant, Blane Sessions, M.D., to Dismiss Plaintiffs' allegations and claim for

punitive damages, and any response thereto, it is hereby ORDERED and DECREED that

Defendant's Motion is GRANTED. Plaintiffs' allegations and claim for punitive damages are

DISMISSED from Plaintiffs' Complaint, with prejudice.




                                                   BY THE COURT:




                                                                         J
           Case 2:18-cv-04793-CSMW Document 3 Filed 04/16/19 Page 3 of 15



                             UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF PENNSYLVANIA

 CAROLYN FARREN and JOSEPH                                   CIVIL ACTION - LAW
 FARREN, W/H                                                 NO. 2:18-CV-04793-JHS

                         V

 BLANE SESSIONS, M.D                                         JURY TRIAL DEMANDED

                     MOTION OF DEFENDANT, BLANE SESSIONS,M.D.,
                      TO DISMISS PURSUANT TO F.R.C.P. 12(bX5)-(6)

           Defbndant, Blane Sessions, M.D., by and thlough his attorneys, Kilcoyne & Nesbitt, LLC,

liereby submits the following Motion to Dismiss Plaintiffs' Complaint pursuant to Federal Rules

of Civil Procedure l2(b)(5)-(6):

                              MOTION TO DISMISS FOR
                  FAILURE TO TIMELY SER   PI,AINTIF'F'S' COMPI,AINT

           1.     Plaintiffs commenced this medical malpractice lawsuit by filing a Complaint in the

Eastern District of Pennsylvania on November           6,2018.   See   Plaintiffs' Complaint, attached hereto

as   Exhibit "A."

           2.     Plaintiffs allege that Defendant, Blane Sessions, M.D., performed "improper and

unnecessary surgery" on      Plaintiff   s   right wrist on March 10,2017. See Exhibit "A," fl 10.

           3.     Plaintiffs claim that venue and jurisdiction are proper in Fedelal Court based upon

diversity of citizenship, and that the amount in controversy exceeds $75,000.

           4.     In accordance with Federal Rule of Civil Procedure 4(m), Plaintiffs were required

to effbctuate service within ninety (90) days of filing the Complaint            -   on or before February 4,

2019   -   or Plaintiffs' Complaint would be invalidated. See Service Deadline, attached hereto            as


Exhibit "8"; F.R.C.P. 4(m).

           5.     Well after the expiration of the ninety (90) day service deadline, on or about March
        Case 2:18-cv-04793-CSMW Document 3 Filed 04/16/19 Page 4 of 15



7.2019, Plaintiffs sent Def-endant, Blane      Sessior-rs,   M.D., via certifled letter, a copy of    the

Corrrplaint. See Marcl-r 7,2019 letter, attached hereto as Exhibit "C."

        6.     According to the docket, Plaintiffs did not attempt service       or.r   Defendant at any

point priorto tl-re February 4,2019 deadline. See a true and correct copy of the dockets for Case

No. 2:18-CV-04793-.iHS, attached hereto as Exhibit "D."

        7.     Without evidence to the contrary on the dockets, Plaintiffs cannot set forth a "good

cause" for the failure to timely serve the Complaint. See F.R.C.P. a(m).

        8.     Additionally, Plaintiffs failed to toll the statute of limitatior.rs with their November

6,2018 Complaint given their failure to timely serve the Defendant by February 4,2019.               See


Cardio-Med. Assocs., Ltd. v. Crozer-Chester Med. Ctr. ,721 F.2d 68,77 (3d Cir. 1983)             ("lt is a

well recognized principle that a statute of limitations is not tolled by the filing of a complaint

subsequently dismissed without prejudice").

        9.     Since Plaintiffs did not serve the Complaint timely, and the statute of limitations

expired on March 11,2019, Plaintiffs' Complaint, and this action, must be disrnissed. See F.R.C.P.

4(m).

        WHEREFORE, Defendant, Blane Sessions, M.D., respectfully requests that this

Honorable Court dismiss Plaintiffs' Complaint for failure to timely effectuate service.

              IN THE ALTERNATIVE, MOTION TO DISMISS PLAINTIFFS'
                CLAIM FOR PUNITIVE DAMAGES IN THE COMPLAINT

        10.    Alternatively, should this Court determine that service was properly effectuated,

any claims for punitive damages must be dismissed, with prejudice.

        11.    Federal Rule of Civil Procedure 12(bX6) permits the Court to grant dismissal of a

claim for failure to state a claim upon which relief can be granted. See F.R.C.P. 12(bX6).

        12.    Plaintiffs' Complaint is comprised of three counts, including negligence              and
          Case 2:18-cv-04793-CSMW Document 3 Filed 04/16/19 Page 5 of 15



infbrmed consent (battery) claims by Carolyn Farren, and a loss of consortiur.n claim by .loseph

Farren.

          13.            In Plaintiff's'infonned consent (battery) cause of action, Plaintilfs requested both

"compensatory and punitive damages," and asserted allegations of punitive damages, including

that Dr. Sessions "acted wantonly, willfully and maliciously and with reckless disregard for the

well-being of plaintiff s decedent (sic), solely forhis personal professional and financial benefit,

thus warranting the imposition of punitive damages. See Exhibir"A," n25.

          14. In cases of diversity jurisdiction               filed in Federal Court, state substantive law

applies. See Chamberlain v. Giampapa,2l0 F.3d 154, 158 (3d Cir. 2000), citing Erie R.R. v.

Tompkins,304 U.S. 64,78,58 S.Ct. 817,82 L.Ed. 1188 (1938).

          15.            Under Pennsylvania Law, to suppofi a claim for punitive damages, plaintiff must

allege facts demonstrating that defendant's conduct was grossly negligent, reckless, outrageous or

malicious.         See   Moran v. G. & W.H. Corson, 586 A.2d 416 (Pa. Super. 1991) (a claim for punitive

damages cannot proceed             if the plaintiff fails to establish sufficient evidence showing the culpable

mental state necessary to prove that reckless and indifferent conduct permitted             a   jury award).

          16.            Mere negligence, or even gross negligence, is insufficient to support an award of

punitivedamages.40P.S. 1303.505(b);Williamsv.Syed,782A.2d1090(Pa.Commw.Ct.2001).

          l7   .         Punitive damages are appropriate "only in cases of outrageous behavior, where the

defendant's egregious conduct shows either an evil motive or reckless indiffelence to the rights of

others." Williams 182 A.2d at 1096

          18.            Pennsylvania courts have made    it   clear that "reckless indiffbrence," the standard

for imposing punitive damages under the Restatement (Second) of Tolts, section 908, requires                   a


more culpable mental state of conscious indifference to the safety of another                   Marlin v. Johns-
        Case 2:18-cv-04793-CSMW Document 3 Filed 04/16/19 Page 6 of 15



Mansville. 494 A.2d 1088 (Pa. 1985).

        19.         An actor's conduct is in reckless disregard of the saf'ety of another if he does an act

intentionally, fails to do an act which it is his duty to do or knowing or liaving a reason to kr.row of

facts wliich would lead a reasonable man             to   realize, not only that his conduct creates an

unreasonable risk of physical harm to another, but also that such risk is substantially greaterthan

that which is necessary to make his conduct negligent. SLTV Cnal Irrc v. Continental Grain Co

587 A.2d     7   02 (Pa. 1991) (citing S 500 of the Restatement (Second) of Torts) (ernphasis added);

McClellan v. HMO of Pennsylvania , 604 A2d 1053,              l06l (Pa. Super.   1992) (an actor is guilty   of

reckless indifTerence when he "has intentionally done an act of an unreasonable character, in

disregard to a risk known to him or so obvious that he must be taken to have been aware of it, and

so great as to make it highly probable that harm would           follow"). "lndifference to a known risk

under Restatement (Second) of Torts $ 500 is close to an intentional risk from a known danger."

ld. a|704.

       20.          Punitive damages are not awarded for mere inadvertence. mistake, errors of

judgment, and the like, which constitute ordinary negligence. Restatement (Second) of Torts $908,

comment (b).

       21.          To assert a claim for punitive damages, plaintiff would have to show that            the

defendant knew, or should have known, of the plaintiff s allegations, yet intentionally or recklessly

disregarded them in order to inflict     injury.   See Dean   v. Cmty. Med. Ctr. , 46 Pa. D. & C. 4th 334

(Ct. Com. PI.2000).

       22.          Recognizing that punitive damages are an extreme penalty to be imposed only in

extreme circumstances, Pennsylvania courts have permitted punitive damages                      in   medical

malpractice actions in situations where the defendant's conduct is directly related to the injury
           Case 2:18-cv-04793-CSMW Document 3 Filed 04/16/19 Page 7 of 15



producing the cause         of action. For   example, purritive darnages were permissible when an

arrestlresiologist abandoned a patient on the operating room table. See Medvecz v. Choi , 569 F .2d

1221 (3d    Cir. 1987). Another example of a case warranting punitive damages occurred when               an


emergency room physician ignored a crying and immobile patient who waited in the emergency

room for hours without receiving treatment         See Hoffman        v. Memorial Osteopathic Hosp.. 492

A2d   1382 (Pa. Super. 1985). See also Guernse)r v. County Living Personal Care Home. Inc., 2006

WL 1412765 (M.D.Pa.2006) (nursing home officials who allowed resident to have                   access to the

room of an 86 year old Alzheimer's patient where he repeatedly raped her, even though nursing

home was aware that resident was a sexual offender under Megan's Law, and his prior instances

of grabbing and kissing staff); Lawrence v. Kunkle, 75D. &.C.4tt' 370 (Ct. Com. Pl. Lanc. Co.

2005) (physician who refused to perform emergency surgery because patient did not have rnedical

insurance even though physician knew that patient would likely suffer permanent neurologic and

functional deficits   if   surgery was delaye d); Zazzerc   v   . Roche, 54 D.   & C. 4tt' 225, 232 (Ct. Com.

Pl. Lacka. Co. 2001) (surgeon who knew from results of pre-operative testing that patient's right

carotid artery was stenosed and required surgery, but who nevertheless proceeded to perform

endarterectomy on healthy left carotid artery).

       23.       Pennsylvania Courts have also often denied              plaintiffs requests for punitive

damages. See Mancini v. Yavorek, 61 D.           & C. 4t|' I (Ct. Com. Pl. Northumberland Co. 2003)
(patient who was injured by surgical sponges left in her pelvic region could not recover punitive

damages from physician who had dictated a note stating that all sponge and instrument counts

were corfect and who had received x-ray report showing presence of foreign object in patient's

pelvis).   See also Russo v. Connors,    No. 00 Cy 1522,Mazzoni, J., (Ct. Com. Pl. Lacka. Co.200l)

(dismissing punitive damages claim which was predicated upon averments that physician failed to
        Case 2:18-cv-04793-CSMW Document 3 Filed 04/16/19 Page 8 of 15



condllct appropriate testing and consider "well-documented risks and side effects of hormones"

before adn'rinistering hormone replacement therapy for low testosterone level).

       24.      In Plaintiffs' Complaint, Plaintiffs failed to support their allegations of "wanton,

willful and malicious" conduct, and request for punitive damages, with specific facts that would

give rise to an actionable claim forpunitive damages. See Dean, 46Pa. D. & C. 4that342.

       25.      Therefore, as a result of Plaintiffs' failure to plead the necessary facts to support a

clairn of punitive damages against Dr. Sessions, Plaintiffs' allegations and claim for punitive

damages must be dismissed, with prejudice.

       WHEREFORE, Defendant, Blane Sessions, M.D., respectfully requests that this

Honorable Court dismiss Plaintiffs' allegations and claim for punitive damages, with prejudice.

                                                       Respectfully Submitted,

                                                       KILCOYNE & NESBITT, LLC

                                                                      4z
                                               BY:
                                                       JAMES P. KILCO\I{E, ESQUIRE
                                                       JACQUELINE R. DRYGAS, ESQUIRE
                                                       JOSHUA M. NEUMAN, ESQUIRE
                                                       Atty. I.D. Nos. 33070 I 93146 1322648
                                                       Kilcoyne & Nesbitt, LLC
                                                       925 Harvest Drive, Suite 200
                                                       Blue Bell, Pennsylvania 19422
                                                       Tel: 610.825.2833
                                                       Fax: 610.825.3222
                                                       Attorneys for Defendant,
Date    vfro   /rr                                     Blane Sessions, M.D.
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                            UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF PENNSYI-VANIA

 CAROLYN FARREN and JOSEPH                              CIVIL ACTION _ LAW
 FARREN, W/H                                            NO. 2:18-CV-04793-JHS

                         V

 BLANE SESSIONS M.D.                                    JURY TRIAL DEMANDED

 BRIEF IN SUPPORT OF THE MOTION OF DEFENDANT, BLANE SESSIONS, M.D.,
               TO DISMISS PURSUANT TO F.R.C.P. 12 (bX5)-(6)

I.        MATTER BEFORE THE COURT

          Defendant, Blane Sessions, M.D., by and through his attorneys, Kilcoyne & Nesbitt, LLC,

hereby subrnits the following Brief in Support of the Motion to Dismiss Plaintiffs' Cornplaint

pursuant to Federal Rules of Civil Procedure 12(bX5)-(6).

II.       STATEMENT OF OUESTIONS INVOLVED

          A. Should the Court      dismiss Plaintiffs' Complaint for Plaintiffs' failure to timely
             effectuate service?

                                                               Suggestedensv)er:       Yes.


          B. Alternatively,   should the Court strike Plaintiffs' allegations and claim for punitive
             damages?

                                                               Suggested   ans\4)er:   Yes.


III.      FACTS

          Plaintiffs commenced this medical malpractice lawsuit by filing a Complaint in the Eastern

District of Pennsylvania on November 6, 2018. See Plaintiffs' Complaint, attached hereto          as


Exhibit   "A."   Plaintiffs allege that Defendant, Blane Sessions, M.D., performed "improper and

unnecessary surgery" on       Plaintiffs right wrist on March 10,2011. See Exliibit "A," fl      10.


Plaintiffs claim that venue and jurisdiction are proper in Federal Court based upon diversity of

citizenship, and that the amount in controversy exceeds $75,000.
         Case 2:18-cv-04793-CSMW Document 3 Filed 04/16/19 Page 10 of 15



         For the l'ollowing reasons Plaintiffs' Complaint. and this action. must be disntissed

IV.      ARGUMENT

         A. The Court        should dismiss Plaintiffs' Complaint for Plaintif'l's' failure to timely
              effectuate service.

         In   accordar-rce   with Federal Rule of Civil Procedure 4(rn), Plaintiffs were required        to

eff'ectuate service within ninety (90) days of   filing the Cornplaint   -   on or before February 4,2019

-   or Plaintiff-s' Complaint would be invalidated. See Service Deadline, attached hereto as Exhibit

"B"; F.R.C.P.4(ni).

         Well afier the expiration of the ninety (90) day service deadline, on or about March 7,2019,

Plaintiffs sent Def.endant, Blane Sessions, M.D., via certified letter, a copy of the Complaint.     See

March 7,2019 letter, attached hereto as Exhibit        "C."   According to the docket. Plaintiffs did not

attempt service on Defendant at any point prior to the February 4,2019 deadline. See a true and

correct copy of the dockets for Case No.2:18-CV-04793-JHS, attached hereto as Exhibit "D."

Without evidence to the contrary on the dockets, Plaintiffs cannot set fbrth a "good callse" for the

failure to timely serve the Complaint. See F.R.C.P. 4(m).

         Additionally, Plaintiffs failed to toll the statute of limitations with their November 6, 201   8


Complaint given their failure to timely serve the Defendant by Febr"uary 4,2019. See Cardio-Med.

Assocs.. Ltd. v. Crozer-Chester Med. Ctr. ,721     F   .2d 68,77 (3d Cir. 1983) ("lt is a well recognized

principle that a statute of limitations is not tolled by the filing of a complaint subsequently

dismissed without prejudice"). Since Plaintiffs did not serve the Con-rplaint tirnely, and the statute

of limitations expired on March 11,2079, Plaintiffs' Complaint, and this action, must be dismissed.

See F.R.C.P. a(m).

         B. In the alternative, the Court should strike Plaintiffs' allegations and claim for
              punitive damages.
        Case 2:18-cv-04793-CSMW Document 3 Filed 04/16/19 Page 11 of 15



        Alterr,atively, should this Cor"rrt determine that service was properly ellectuated. any clain'rs

fbr punitive damages rnust be dismissed, with prejudice. Federal Rule of Civil Procedure l2(bX6)

permits the Court to grant dismissal of a claim for failure to state a clairn upon which relief can be

granted. See F.R.C.P. 12(bX6).

        Plaintiffs' Complaint is cornprised of three counts, including negligence and informed

consent (battery) claims by Carolyn Farren, and a loss of consortium claim by .loseph Farren. In

Plaintiffs' informed consent (battery) cause of action, Plaintiffs requested both "compensatory and

punitive damages," and asserted allegations of punitive damages, includirig that Dr.              Sessions

"acted wantonly, willfully and maliciously and with reckless disregard fbr tl-re well-being of

plaintifls   decedent (sic), solely for his personal professional and financial berrefit, thus warranting

the imposition of punitive darnages. See Exhibit      "A," n25.

        In cases of diversity jurisdiction filed in Federal Court, state substantive law applies. See

Chamberlain v. Giampapa, 210 F.3d 154,158 (3d Cir. 2000), citing Erie R.R. v. Tompkins, 304

U.S. 64, 78, 58 S.Ct. 817,82 L.Ed. I188 (1938). Under Pennsylvania Law, to support a claim for

punitive damages, plaintiff must allege facts demonstrating that defendant's conduct was grossly

negligent, reckless, outrageous or malicious. See Moran v. G. & W.H. Corson, 586 A.2d 416 (Pa.

Super. 1991) (a claim for punitive damages cannot proceed             if   the plaintiff fails to establish

sufficient evidence showing the culpable mental state necessary to prove that reckless                 and

indifferent conduct permitted a jury award).

       Mere negligence, or even gross negligence, is insufficient to support an award of punitive

damages. 40 P.S. 1303.505(b); Williams           v. Syed,782 A.zd      1090 (Pa. Commw. Ct. 2001).

Punitive damages are appropriate "only in cases of outrageous behavior, where the defendant's

egregious conduct shows either an evil motive or reckless indifference to the rights of others."
        Case 2:18-cv-04793-CSMW Document 3 Filed 04/16/19 Page 12 of 15



Williams 782 A.2dat 1096. Pennsylvania courts have made it clear that "reckless indiflbrence,"

the standard fbr imposing punitive damages under the Restaternent (Second) of Torts, section 908,

requires a more culpable mental state of conscious indifference to the safety of another. Martin v

Jolrns-Mansville, 494 A2d 1088 (Pa. 1985).

        An actor's conduct is in reckless disregard of the safety of another if he does an act

intentionally, fails to do an act which it is his duty to do or knowing or having a reason to know of

facts which would lead a reasonable man        to   realize, not only tliat his condnct creates an

unreasonable risk of physical harm to another, but also that such risk is substantially greater than

that whicli is necessary to make his conduct negligent    SHV Coal Inc. v. Continental Grain Co

587   A.2d702 (Pa. 1991) (citing $ 500 of the Restatement (Second) of Torts) (ernphasis added);

McClellan v. HMO of Pennsylvania,604 A.2d 1053, 1061 (Pa. Super. 1992) (an actor is guilty of

reckless indiffer"ence when he "has intentionally done an act of an unreasonable character, in

disregard to a risk known to him or so obvious that he must be taken to have been aware of it, and

so great as to make it highly probable that harm would    follow"). "lndifference to a known risk

under Restatement (Second) of Torts $ 500 is close to an intentional risk from a known danger."

Id. a|704.

        Punitive damages are not awarded for mere inadvertence, mistake, errors ofjudgment, and

the like, which constitute ordinary negligence. Restatement (Second) of Torts $908, comment (b).

To assert a claim for punitive damages, plaintiff would have to show that the defendant knew, or

should have known, of the plaintiff s allegations, yet intentionally or recklessly disregarded them

in order to inflict injury. See Dean v. Cmty. Med. Ctr. ,46Pa. D. & C. 4th334 (Ct. Com. Pl. 2000).

        Recognizing that punitive damages are an extreme penalty to be imposed only in extreme

circumstances, Pennsylvania courts have permitted punitive damages         in medical   malpractice
        Case 2:18-cv-04793-CSMW Document 3 Filed 04/16/19 Page 13 of 15



actiolts in situations where the def-endant's conduct is directly related to the injury producing the

cause   of action. For example. punitive damages were permissible when an anesthesiologist

abar-rdoned a patient on the operating room       table.   See   Medvecz v. Choi s69 F.2d 1221 (3d Cir

1987). Another exarnple    ola   case warranting punitive damages occurred when an emergency

room physician ignored a crying and immobile patient who waited in the emergency room fbr

lrours without receiving treatment. See Hoffman v. Memorial Osteopathic Hosp,, 492 A.2d 1382

(Pa. Super. 1985). See also Guer"nse)r v. County Living Personal Car"e Home. Inc., 2006 WL

1412765 (M.D. Pa. 2006) (nulsing home officials who allowed resident to have access to the room

of an 86 year old Alzheimer's patient where he repeatedly raped her, even though nursing home

was aware that resident was a sexual offender under Megan's Law, and his prior instances of

grabbing and kissir-rg staff); Lawrence v. Kunkle, 75 D. & C.        4th 370   (Ct. Com. Pl. Lanc. Co. 2005)

(physician who refused to perform emergency surgery because patient did not have medical

insurance even though physician knew that patient would likely suffer permanent neurologic and

functional deficits if surgery was delaye d); Zazzera v . Roche, 54 D. & C.          4tt''   225, 232 (Ct. Com.

Pl. Lacka. Co.2001) (surgeon who knew from results of pre-operative testing that patient's right

carotid artery was stenosed and required surgery, but who nevertheless proceeded to perform

endarterectomy on healthy left carotid artery).

        Pennsylvania Courts have also often denied plaintiff s requests for punitive damages. See

Mancini v. Yavorek. 61 D. &. C.   4tt'   I   (Ct. Com. Pl. Northumberland Co. 2003) (patient who was

injured by surgical sponges left in her pelvic region could not recover punitive damages from

physician who had dictated a note stating that all sponge and instrument counts were correct and

who had received x-ray report showing presence of foreign object in patient's pelvis). See also

Russo v. Connors,   No.00 CY 1522,Mazzoni, J., (Ct. Com. Pl. Lacka. Co.2001) (dismissing
       Case 2:18-cv-04793-CSMW Document 3 Filed 04/16/19 Page 14 of 15



plu-ritive daura-ues clairn wliicli was predicated upon averments that physician failed to conduct

appropriate testing and consider "well-documented risks and side effects of horrnones" belbre

administering hormone replacement therapy for low testosterone level).

           In Plaintiffs' Cor.nplaint, Plaintiffs failed to support their allegations of "wanton, willful

and malicious" conduct, and request for punitive damages, with specific facts that would give rise

to an actionable clain-r fbr punitive damages. See Dean, 46 Pa. D. & C. 4th at.342. Therefore,         as


a result   of Plaintiffs' failure to plead the necessary facts to support a claim of punitive damages

against Dr. Sessions, Plaintiffs' allegations and claim for punitive damages must be dismissed,

with prejudice.

V.         CONCLUSION

       For the fbregoing reasons, Defendant, Blane Sessions, M.D., respectfully requests tliat this

Honorable Court dismiss Plaintiffs' Complaint for failure to timely effectuate service, or in the

alternative, strike Plaintiffs' allegations and claim for punitive damages.

                                                         Respectfully Submitted,

                                                         KILCOYNE & NESBITT, LLC
                                                            ,/)
                                                 BY               /-
                                                         JAMES P. KILCOYNE, ESQUIRE
                                                         JACQUELINE R. DRYGAS, ESQUIRE
                                                         JOSHUA M. NEUMAN, ESQUIRE
                                                         Atty. I.D. Nos. 33070 193146 1322648
                                                         Kilcoyne & Nesbitt, LLC
                                                         925 Harvest Drive, Suite 200
                                                         Blue Bell, Pennsylvania 19422
                                                         Tel:    610.825.2833
                                                         Fax: 610.825.3222
                                                         Attorneys for Defendant,
Date: q         €   l1                                   Blane Sessions, M.D.
       Case 2:18-cv-04793-CSMW Document 3 Filed 04/16/19 Page 15 of 15



                             UNITED STATES DISTRICT COURT
                     F'OR TIIE EASTERN DISTRICT OF PENNSYLVANIA

 CAROLYN FARREN and JOSEPH                           CIVIL ACTION _ LAW
 FARREN, W/H                                         NO. 2:18-CV-04793-JHS

                      V

 BLANE SESSIONS M.D                                   JURY TRIAL DEMANDED

                                CERTIFICATE OF SERVICE

       I, Joshua M. Neuman, Esquire, hereby certify that   a true and correct copy   of the Motion of

Defendant, Blane Sessions, M.D., to dismiss Plaintiffs' Complaint for failure to tirnely effbctuate

service, or in the alternative, strike Plaintiffs' allegations and claim for punitive damages, was

forwarded to all counsel of record via the electronic filing system and U.S. Mail, postage prepaid,

on the date listed below upon the following:


                                  Thomas F. Sacchetta, Esquire
                                      Sacchetta & Baldino
                                       308 E. Second St.
                                       Media, PA 19063


                                                     KILCOYNE & NESBITT, LLC

                                                                   t4.
                                               BY
                                                     JOSHUA M. NEUMAN, ESQUIRE
                                                     Atty. I.D. No. 322648
                                                     Kilcoyne & Nesbitt, LLC
                                                     925 Harvest Drive, Suite 200
                                                     Blue Bell, Pennsylvania 19422
                                                     Tel:   610.825.2833
                                                     Fax:   610.825.3222
                                                     Attorney for Defendant,
Date    qlre   ltt                                   Blane Sessions, M.D.
